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                        Appendix B
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                                                                               Appendix B
                                                                              Trial Witnesses
                                     Custodian                                                                                                      Total
                                                      On Plaintiffs'       On Google's           Google            First        Litigation Hold
        Custodian Name              Proposed or                                                                                                   Produced
                                                      Witness List         Witness List       Issued Hold        Deposition      Delay (days)1
                                       Added                                                                                                       Chats
    Neal Mohan                        11/20/2019      Expect to Call      Expect to Call         4/27/2023         11/19/2020        1254             5
    Scott Sheffer                     11/20/2019      Expect to Call      Expect to Call          2/3/2021         07/20/2021        441              9
    Jerry Dischler                    11/20/2019      Expect to Call       Not on List           1/22/2021         09/28/2020        429             20
    Chris LaSala                       2/20/2020      Expect to Call       Not on List           1/22/2021         10/20/2020        337             61
    Duke Dukellis                      2/20/2020      Expect to Call       Not on List           1/22/2021         08/11/2021        337             69
    Jason Spero                        2/20/2020      Expect to Call       Not on List           1/22/2021         09/28/2021        337             49
    Payam Shodjai                      2/20/2020      Expect to Call       Not on List           1/22/2021         11/10/2020        337             25
    Dan Taylor                         2/20/2020       Not on List        Expect to Call         1/22/2021         09/17/2021        337             119
    Alok Verma                          8/3/2020      Expect to Call       Not on List           1/22/2021         07/21/2021        172             73
    Aparna Pappu                        8/3/2020      Expect to Call       Not on List           1/22/2021         08/11/2023        172             157
    Bryan Rowley                        8/3/2020      Expect to Call       Not on List           1/22/2021         07/27/2021        172              2
    George Levitte                      8/3/2020      Expect to Call       Not on List           1/22/2021         08/10/2021        172             137
    Jim Giles                           8/3/2020      Expect to Call       Not on List           1/22/2021         11/06/2020        172             67
    Max Loubser                         8/3/2020      Expect to Call       Not on List           1/22/2021         04/21/2021        172             41
    Scott Spencer                       8/3/2020      Expect to Call       Not on List           1/22/2021         08/12/2021        172             46
    Woojin Kim                          8/3/2020      Expect to Call       Not on List           1/22/2021         03/30/2021        172             35
    K. Marco Hardie                    1/24/2023       Not on List        Expect to Call          4/3/2023         11/14/2023         69              7
    Sarah Stefaniu                     1/24/2023       Not on List        Expect to Call          4/3/2023                N/A         69              8
    Jessica Mok                        1/24/2023       Not on List          May Call             2/23/2023         11/10/2023         30             28
    Ali Nasiri Amini                   1/15/2021      Expect to Call       Not on List            2/3/2021         11/14/2023         19             71
    Nirmal Jayaram                     1/15/2021      Expect to Call      Expect to Call         1/22/2021         09/17/2021         7              162
                                                       Deposition
    Vlad Sinaniyev                     1/15/2021       Designated          Not on List           1/22/2021         11/16/2023         7             53
    Pooja Kapoor                      11/20/2019       Not on List          May Call             10/4/2019                N/A         0             14
    Adam Stewart                       1/24/2023       Not on List        Expect to Call          3/8/2021                N/A         0             73
    Martin Pal                         1/24/2023        May Call           Not on List           1/22/2021                N/A         0             297
    Sissie Hsiao                      11/20/2019      Expect to Call        May Call             10/4/2019         12/09/2021         0             130
    Bonita Stewart                    11/20/2019      Expect to Call       Not on List           10/4/2019         05/17/2021         0             19

1
    This column shows the number of days that the “Custodian Proposed or Added” date precedes the “Google Issued Hold” date.
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                          Custodian                                                                                       Total
                                        On Plaintiffs'   On Google's         Google       First       Litigation Hold
   Custodian Name        Proposed or                                                                                    Produced
                                        Witness List     Witness List     Issued Hold   Deposition     Delay (days)
                            Added                                                                                        Chats
Brad Bender                11/20/2019   Expect to Call    Not on List       10/4/2019    10/16/2020         0              37
Donald Harrison            11/20/2019   Expect to Call    Not on List       10/4/2019    10/19/2021         0              12
Eisar Lipkovitz              8/3/2020   Expect to Call    Not on List       6/22/2020    03/31/2021         0               3
Jonathan Bellack             8/3/2020   Expect to Call    Not on List       10/4/2019    10/02/2020         0              56
Tim Craycroft               1/24/2023   Expect to Call   Expect to Call     9/20/2022    08/15/2023         0              14
Rahul Srinivasan            1/24/2023   Expect to Call    Not on List       1/22/2021    08/08/2023         0              149
Sam Cox                      8/3/2020   Expect to Call    Not on List       10/4/2019    10/26/2020         0              31
Nitish Korula               2/16/2021   Expect to Call   Expect to Call     10/4/2019    10/28/2021         0             1226
